                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

NATIONAL GREEN GAS, L.L.C.,               )
a Minnesota limited liability company,    )
                                          )
              Plaintiff,                  )
                                          )
v.                                        )       CASE NO. __________
                                          )
                                          )
                                          )
ESTRATEGY, INC., a corporation,           )
BRIAN L. SEXTON and JAMILA                )
ALDASHEVA, individuals,                   )
                                          )
              Defendants.                 )

                                     COMPLAINT

       Plaintiff, National Green Gas, L.L.C. (the “Plaintiff”), by and through its

undersigned counsel, alleges and states the following for its cause of action against

Estrategy, Inc., Brian L. Sexton and Jamila Aldasheva (collectively, the “Defendants”),

upon information and belief and based on the investigation to date of its counsel:

                             JURISDICTION AND VENUE

       1.     This Court has jurisdiction over the subject matter of this action pursuant to

U.S.C. Section 1332(d)(2) (diversity jurisdiction), in that there is complete diversity.

Plaintiff is a for-profit Minnesota limited liability company with its principal place of

business at 10225 Yellow Circle Drive, Minnetonka, Minnesota 55343.              Defendant

Brian L. Sexton (“Sexton”) is the Chief Operating Officer of Estrategy, Inc. (“Estrategy”),

a for-profit Delaware corporation doing business as One Salute, with its principal place of



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business at 1600 Swift Avenue, Suite 100, North Kansas City, Missouri 64116. Defendant

Jamila Aldasheva (“Aldasheva”) is the wife of Defendant Sexton. Her last known address

is 25 E. Superior Street, Apartment 4201, Chicago, Illinois 60611. Diversity jurisdiction

exists because the amount in controversy exceeds $75,000, exclusive of costs, this action

is between citizens of different states, and the Defendants have certain minimum contacts

with the State of Missouri such that the maintenance of the suit in this district does not

offend traditional notions of fair play and substantial justice.

       2.      Defendants conduct business in Missouri and have sufficient contacts with

Missouri or otherwise intentionally avail themselves of the laws and markets of Missouri,

so as to sustain this Court’s jurisdiction over Defendants.

        3.     Venue is proper in this district pursuant to 28 U.S.C. Section 1391, et seq.,

because a substantial part of the events or omissions giving rise to Plaintiff’s claims and

causes of action occurred in this judicial district in Missouri.

        4.     Plaintiff is a waste management company for biohazardous medical waste

and also provides distribution for natural gas. It is incorporated in Minnesota and maintains

its principal place of business in Minnesota.

        5.     On information, Estrategy, doing business as One Salute, provides various

services, primarily to United States Government agencies. It is incorporated in Delaware,

with its principal place of business registered in Kansas City, Missouri.

             GENERAL ALLEGATIONS APPLICABLE TO ALL CLAIMS

       6.      Plaintiff and Estrategy entered into that certain agreement (the “Agreement”)

pursuant to which Plaintiff, as subcontractor to Estrategy, was to provide certain


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professional, consulting or other services in California, as part of Estrategy’s contract (the

“Contract”) with the Department of Veterans Affairs.

       7.     Plaintiff did provide professional, consulting or other services as part of

Estrategy’s Contract.

       8.     Estrategy failed to comply with the terms of the Agreement. Plaintiff duly

issued, and Estrategy received, monthly billings that set forth in detail all professional,

consulting or other services provided by Plaintiff and the amounts due and owing by

Estrategy.

       9.     Plaintiff is informed and believes that Estrategy was paid by the Department

of Veterans Affairs, or other payor, for the professional, consulting or other services

provided by Plaintiff to Estrategy as part of Estrategy’s Contract.

       10.    Plaintiff sued Estrategy in the Circuit Court for the County of Fairfax,

Virginia, the venue provided in the Agreement between Plaintiff and Estrategy, for the

balance owed by Estrategy to Plaintiff in the amount of $453,349.25 with interest at the

rate of 6% per year from July 1, 2014.

       11.    A judgment was entered by the Virginia Court against Estrategy on

November 20, 2015. See Exhibit 1. The judgment was registered in Missouri and Illinois.

See Exhibit 2.

       12.    Estrategy has maintained corporate bank accounts with Bank of America,

N.A. and JPMorgan Chase Bank, N.A. (the “Company Accounts”). Defendant Sexton is

the sole authorized signer on the Company Accounts. The mailing address for the




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Company Accounts is 25 E. Superior Street, Apartment 4201, Chicago, Illinois 60611 (the

“Personal Residence”), the last known residence of Defendants Sexton and Aldasheva.

       13.     Defendants Sexton and Aldasheva are husband and wife.

       14.     Defendants have maintained a joint bank account (the “Personal Account”)

with JPMorgan Chase Bank, N.A.

       15.     Defendants Sexton and Aldasheva have made transfers from the Company

Account to the Personal Account for personal purposes during the period of time Estrategy

has owed Plaintiff the entire amount due under the Agreement.

       16.     Defendants Sexton and Aldasheva have transferred money from the

Company Accounts directly to Cook County to pay property taxes on their Personal

Residence. Defendants have transferred money from the Company Accounts directly to

Commonwealth Edison to pay the utility bills for their Personal Residence. Defendants

Sexton and Aldasheva routinely used the Company Accounts to pay for personal expenses.

       17.     Estrategy has not paid, in whole or in part, the judgment obtained by the

Plaintiff.

             ALTER EGO THEORY TO PIERCE THE CORPORATE VEIL

       18.     Plaintiff hereby incorporates by reference paragraphs 1 through 17 as if fully

set forth herein.

       19.     The Defendants Sexton and Aldasheva have transferred money from the

Company Accounts to the Personal Account for personal use to render the Company

Accounts devoid of funds for Estrategy to pay its creditors.




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      20.    Defendant Sexton, as Chief Operating Officer of Estrategy, controls: (a) its

financial affairs; (b) the Company Accounts; (c) its contracts and services; and (d) the

overall strategy, direction and management of Estrategy.

      21.    Defendants Sexton and Aldasheva have used the Company Accounts as if

they were their Personal Account. On August 18, 2016, Defendant Sexton transferred

$23,000.00 from a Company Account to the Personal Account. On September 9, 2016,

Defendant Sexton again transferred $23,200.00 from a Company Account to the Personal

Account. On September 15, 2016, Defendant Sexton transferred $12,849.20 from a

Company Account to the Personal Account. On September 27, 2016, Defendant Sexton

transferred $980.00 from a Company Account to the Personal Account. On October 11,

2016, Defendant Sexton transferred $18,000.00 from a Company Account to the Personal

Account. On October 31, 2016, Defendant Sexton transferred $4,653.00 from a Company

Account to the Personal Account. There were a total of $82,657.20 transfers by Defendant

Sexton over a two-and-one-half-year period from the Company Accounts to the Personal

Account, while no payments were made by Estrategy on the obligation owed to Plaintiff.

      22.    On May 2, 2016, Defendant Sexton transferred $14,104.27 from a Company

Account to Cook County, Illinois to pay the property tax on a residence of Defendants

Sexton and Aldasheva in Illinois.

      23.    On June 6, 2016, Defendant Sexton withdrew $3,500.00 from the Company

Account at a Bank of America ATM located at 52nd and Pulaski Streets, Chicago, Illinois.

      24.    Defendant Sexton transferred money from a Company Account directly to

Commonwealth Edison, a utility company that serves Northern Illinois, multiple times,


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including: on May 2, 2016, he transferred $1,461.24; on June 7, 2016, he transferred

$324.94; and on July 1, 2016, he transferred $293.29. The money transfers appear to be

payments of Defendants’ personal utility bills.

       25.    As set forth above, Estrategy is indebted to Plaintiff, and Plaintiff has

obtained a judgment for professional, consulting or other services provided by Plaintiff to

Estrategy pursuant to the Agreement in the total amount of $453,349.25 plus attorneys’

fees, court costs and pre- and post-judgment interest.

       26.    Defendant Sexton controls Estrategy’s revenues and profits.

       27.    Defendant Sexton has not paid Plaintiff the amount due under the Judgment.

       28.    Defendants Sexton and Aldasheva used money from the Company Accounts

for personal benefit instead of paying creditors and specifically, instead of paying Plaintiff.

       29.    Defendant Sexton used and controlled the Company Accounts in a manner

consistent with personal ownership, not consistent with the role of a corporate officer.

       30.    The business practices of Estrategy amounted to fraud, allowing Defendant

Sexton to breach the Agreement with Plaintiff with no practical consequences. Defendants

Sexton and Aldasheva enjoy the benefits of the enterprise and the services rendered by

Plaintiff, while not paying creditors like Plaintiff.

       31.    Defendant Sexton has blurred the lines between the corporate identity of

Estrategy and his personal identity. Misuse of the corporate form by Defendant Sexton

“constitutes a public wrong justifying disregard of the corporate entity.” See Gadsen v.

Home Pres. Co., 2004 Del. Ch. LEXIS 14 at *14 (Del. Ch. 2004). Defendant Sexton is the




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economic alter ego of Estrategy and claims against Estrategy should be claims against

Defendant Sexton.

       32.    Estrategy’s corporate veil should be pierced and Defendant Sexton should be

held liable for the corporation’s misconduct and obligations because “the corporate form

would otherwise be misused to accomplish certain wrongful purposes, most notably fraud.”

U.S. v. Bestfoods, 524 U.S. 51, 62 (1998). It should be done in the interest of justice

because fraud and the contravention of a contract are involved. See Pauley Petroleum, Inc.

v. Continental Oil Co., 239 A. 2d 629, 633 (Del. S. Ct. 1968).

       33.    Federal courts in diversity cases apply the conflicts laws of the state in which

it sits to determine what law to apply. Mobil Oil Corp. v. Linear Films, Inc. 718 F. Supp.

260, 267 (D. Del. 1989) (“Mobil Oil”) quoting Klaxon Co. v. Stenton Electric Mfg. Co.,

313 U.S. 487, 496 (1941). Missouri courts apply the “internal affairs” doctrine to a request

to pierce the corporate veil because the piercing of the corporate veil involves “an analysis

of how the controlling shareholders administered and governed the corporation.” Robinson

Mech. Contrs., Inc. v. PTC Grp. Holdings Corp. 2017 U.S. Dist. LEXIS 88725 at *5 (E.D.

Mo. 2017) (“Robinson”). The internal affairs doctrine provides that the law of the state of

incorporation is applied to disputes concerning the internal organization of a company. Id.

at 5 quoting R & K Lombard Pharmacy Corp. v. Med. Shoppe Int’l, Inc., 2008 U. S. Dist.

LEXIS 17032 at *3 (E.D. Mo. 2008). The doctrine is statutory in Missouri. See Section

351.582(3) Mo. Rev. Stat. 1990. Therefore, Delaware law is applied to a determination

that Defendant Sexton is the alter ego of Estrategy and the corporate veil should be pierced.




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       34.     An alter ego relationship may exist where there is a lack of attention to

corporate formalities, including commingling of assets and one entity’s complete

domination and control over the other entity. See Mobil Oil at 266. The alter ego theory

may apply where there is such unity between a company and an individual that the

separateness of the company has ceased. W. Coast Opportunity Fund, LLC v. Credit Suisse

Sec. (USA), LLC, 12 A. 3d 1128, 1131 n. 6 (S. Ct. Del. 2009) quoting FLETCHER

CYCLOPEDIA OF THE LAW OF CORPORATIONS, Section 41.10. In this case, there

is such unity between Estrategy and Defendant Sexton that the separateness of the company

has ceased.

       35.     The facts stated herein support a “veil-piercing” claim. Delaware law

requires that the facts support an inference that the alter ego, here Defendant Sexton, has

created through Estrategy a sham entity designed to defraud investors and creditors. The

Court may consider the following factors to determine whether the corporate veil will be

pierced:

               (1)   whether the company was adequately capitalized for the undertaking;

               (2)   whether the company was solvent;

               (3)   whether corporate formalities were observed;

               (4)   whether the dominant shareholder siphoned company funds; and

               (5)   whether, in general, the company simply functioned as a façade for

       the dominant shareholder.

A combination of the factors in addition to injustice or unfairness is determinative. See

Robinson at 16; Doberstein v. G-P Indus., 2015 Del. Ch. LEXIS 275 at 12 (Del. Ch. 2015).


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       36.      It is a reasonable inference that Estrategy was undercapitalized. Defendant

Sexton has engaged in a course of conduct of obtaining federal government contracts that

were not capable of being performed by Estrategy but were performed by subcontractors

like Plaintiff. Defendant Sexton retained the benefits of those contracts by transferring

money from Company Accounts to his Personal Account while leaving creditors like

Plaintiff unpaid.

       37.      Defendant Sexton is engaging in conduct that unjustly shield’s Estrategy’s

assets from its creditors by repeatedly depleting Estrategy’s bank accounts so there is no

cash available to pay creditors. Defendant Sexton only pays creditors where there is a

personal and continuing benefit to him, such as credit cards he can use for personal

expenditures.     At all times relevant to this Complaint, Defendant Sexton controlled

Estrategy’s conduct and benefitted from that conduct in a way that created Estrategy’s

inability or refusal to pay Plaintiff. Defendant Sexton’s conduct has been sufficient to

permit the reasonable inference that Defendant Sexton renders Estrategy insolvent at the

time when creditors demand payment.

       38.      Defendant Sexton controls Estrategy and has not observed appropriate

corporate formalities. Although Estrategy maintains its principal office in Missouri,

Defendant Sexton uses his personal residence in Illinois for Estrategy financial

transactions. He has opened Company Accounts using his personal address as the address

of Estrategy. He limits authority over the Company Accounts solely to himself. Defendant

Sexton then uses the Company Accounts as personal bank accounts by repeatedly

transferring large sums of money into his personal bank account and transferring Estrategy


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money directly to pay his personal debts. Defendant Sexton has repeatedly siphoned

Estrategy funds. Defendant Sexton has not treated Estrategy as a distinct entity.

       39.    Defendant Sexton is the sole person exercising control over Estrategy’s

operations and finances. Estrategy is a mere corporate façade for Defendant Sexton. He

has controlled and directed every aspect of Estrategy’s business, including strategies,

finances and operations. Defendant Sexton treats Estrategy’s income as his personal

income. Therefore, Estrategy’s debts should be treated as his personal obligations.

       40.    To allow Defendant Sexton to hide behind the shield of Estrategy to avoid

his obligation to Plaintiff would result in fraud, injustice and inequity. Defendant Sexton

enters into federal government contracts that he knows he cannot perform. He knowingly

entered into a sub-contractor relationship with Plaintiff, so Plaintiff would render the

services required for the federal government. When Estrategy was paid for the work

performed by Plaintiff, Defendant Sexton chose to retain that money and use it for his

personal benefit.

       41.    Defendant Sexton created Estrategy to defraud creditors and unjustly enrich

himself to the detriment of Estrategy’s creditors. The factors required by Delaware law to

pierce the corporate veil and hold Defendant Sexton liable to Plaintiff as the alter ego of

Estrategy are satisfied in this case. It would be an injustice and unfair to allow Defendant

Sexton to escape his liability to Plaintiff.

                              FRAUDULENT TRANSFERS

       42.    Plaintiff hereby incorporates by reference paragraphs 1 through 41 as if fully

set forth herein.


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       43.    Defendants Sexton and Aldasheva have transferred money unlawfully from

the Company Accounts to the Personal Account for their personal benefit with the intent

to render Estrategy devoid of funds to pay its creditors and consequently to defraud its

creditors.

       44.    Under the Missouri Uniform Fraudulent Transfer Act, Mo. Rev. Stat.

Sections 428 to 428.05,

       the following transfers are fraudulent to present and future creditors: a
       transfer of an obligation incurred by a debtor is fraudulent as to a creditor,
       whether the creditor’s claim arose before or after the transfer was made or
       the obligation was incurred if the debtor made the transfer or incurred the
       obligation: (1) with actual intent to hinder, delay or defraud any creditor of
       the debtor; or (2) without receiving a reasonably equivalent value in
       exchange for the transfer or obligation, and the debtor (a) was engaged or
       was about to engage in a business or transaction for which the remaining
       assets of the debtor were unreasonably small in relation to the business or
       transaction, or (b) intended to incur, or believed or reasonably should have
       believed that he would incur, debts beyond his ability to pay as they became
       due.

       45.    Defendant Sexton knew that he was using Estrategy’s money to pay his

personal expenses instead of paying Estrategy’s creditors. He repeatedly transferred large

sums of cash from the Company Accounts to the Personal Account, thereby depleting the

Company Accounts. Defendant Sexton engaged in the transfer of the Estrategy assets to

himself, notwithstanding the fact that he owed Plaintiff for the services Plaintiff rendered

under the Agreement. Defendant Sexton intended that there would be no funds available

in the Company Accounts or any other asset of Estrategy to pay Plaintiff. Therefore,

Defendant Sexton defrauded Plaintiff when he induced Plaintiff to enter into the

Agreement. There was no intent to pay Plaintiff for the services rendered. Defendant



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Sexton engaged in a business transaction for which he knew the assets of Estrategy would

not be sufficient to pay Plaintiff. He knew this because he knew that he habitually depleted

the Estrategy assets for personal purposes instead of satisfying business commitments.

Defendant Sexton has managed the financial operations of Estrategy through a continuing

series of fraudulent transfers. A “transfer” is “every mode, direct or indirect, absolute or

conditional, voluntary or involuntary, of disposing of or parting with an asset or an interest

in an asset, and includes payment of money, release, lease, and creation of a lien or other

encumbrance.” Mo. Rev. Stat. Section 428.009(12). Estrategy’s financial activities are

closely linked and inextricably intertwined with the assets and affairs of Defendant Sexton,

particularly with respect to the repeated bank transfers.

       46.     Defendant Sexton solely controlled all of the assets of Estrategy.         He

controlled the Company Accounts, the contracts and all ongoing operations.

       47.     The transfers from the Company Accounts to the Personal Account and the

payment of personal expenses from the Company Accounts by Defendant Sexton were

made without any consideration of any kind. Estrategy received nothing in return. For a

transaction to be valid there must be a reasonably equivalent benefit given in exchange for

the conveyance of the asset. See Favazza v. Path Media Holdings, LLC, 2014 U. S. Dist.

LEXIS 6340 at *32 (E.D. Mo. 2014).

       48.     Defendant Sexton has defrauded Plaintiff, a judgment creditor. In such

circumstances, Missouri law provides that a creditor may obtain relief against a fraudulent

transfer by:




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                  (1)     avoidance of the transfer or obligation to the extent necessary
          to satisfy the creditor’s claim;
                  (2)     an attachment or other provisional remedy against the asset
          transferred or other property of the transferee in accordance with the
          procedure prescribed by applicable laws of this state;
                  (3)     subject to applicable principles of equity and in accordance
          with applicable rules of civil procedure,
                          (a)    an injunction against further disposition by the debtor
                  or a transferee, or both, of the asset transferred or of other property;
                          (b)    appointment of a receiver to take charge of the asset
                  transferred or of other property of the transferee; or
                          (c)    any other relief the circumstances may require.

Mo. Rev. Stat. Section 428.039.1 See also “[I]f a creditor has obtained a judgment on a

claim against a debtor, the creditor, if the court so orders, may levy execution on the asset

transferred or its proceeds.” Mo. Rev. Stat. Section 428.039.2

          49.    “Fraudulent intent is rarely proven by direct evidence.” CitiMortgage, Inc. v.

Just Mortg., Inc., 2013 U.S. DIST. LEXIS 174962 at *11 (E.D. Mo. 2013) quoting Taylor

v. Clark, 140 S.W. 3rd 242, 251 (Mo. Ct. App. 2004). The totality of the circumstances

surrounding the pattern of personal use of Estrategy’s assets by Defendants Sexton and

Aldasheva while ignoring obligations to Estrategy’s creditors is indicative of fraudulent

intent.

          50.    Factors to consider in determining actual intent include:

                 (1)     the transfer was to an insider;
                 (2)     the debtor retained possession or control of the property
          transferred after the transfer;
                 (3)     the transfer or obligation was disclosed or concealed;
                 (4)     before the transfer was made or obligation was incurred, the
          debtor had been sued or threatened with suit;
                 (5)     the transfer was of substantially all the debtor’s assets;
                 (6)     the debtor absconded;
                 (7)     the debtor removed or concealed assets;



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              (8)    the value of the consideration received by the debtor was
       reasonably equivalent to the value of the asset transferred or the amount of
       the obligation incurred;
              (9)    the debtor was insolvent or became insolvent shortly after the
       transfer was made or the obligation was incurred;
              (10) the transfer occurred shortly before or shortly after a
       substantial debt was incurred; and
              (11) the debtor transferred the essential assets of the business to a
       lienor who transferred the assets to an insider of the debtor.

Mo. Rev. Stat. Section 428.024.2.

       Defendant Sexton offered no assets to satisfy Plaintiff’s judgment, although

Defendant was repeatedly transferring cash from the Company Accounts to the Personal

Account. “The presence of several indicia of fraud may give rise to a strong inference of

fraud.” BancorpSouth Bank v. Hall, 2001 U.S. Dist. LEXIS 12012 at *14-15 (W.D. Mo.

2011) (“BancorpSouth”). Four indicia will suffice. See BancorpSouth at *14-15.

       51.    During the period that started when the original obligation became owed to

Plaintiff to the present, Defendant Sexton held the title of either Chief Executive Officer

or Chief Operating Officer of Estrategy. The executive position allowed him to exercise

complete dominion, management and control over Estrategy. “Insider” includes an officer

or director of the debtor and a relative of the debtor. Mo. Rev. Stat. Section 428.009 (7).

The Defendants Sexton and Aldasheva are husband and wife. Therefore, under Missouri

law, both Defendants Sexton and Aldasheva are liable to Plaintiff for the assets transferred

to the Personal Account and assets transferred from the Company Accounts for their

personal use. Defendant Sexton has exercised sole control over all of Estrategy’s assets,

including cash, while he repeatedly transferred Estrategy’s cash to himself and his wife.




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       52.    When Estrategy was paid by the Department of Veterans Affairs for the work

performed by Plaintiff, Defendant Sexton simply refused to pay Plaintiff. A “debtor” is a

person who is liable on a claim and a “creditor” is a person who has a claim. Mo. Rev.

Stat. Section 428.009 (6), (4). A “claim” is defined as a “right to payment, whether or not

the right is reduced to judgment.” Mo. Rev. Stat. Section 428.009(3). At that time, Plaintiff

was a creditor protected from fraudulent transfers of Estrategy’s assets. See Curtis v.

James, 459 S. W. 3d 471, 476 (Mo. Ct. App. 2015).

       53.    But for Defendant Sexton’s transferring Estrategy’s assets to the Personal

Account and paying personal expenses from the Company Accounts and Estrategy’s

overall assets, Estrategy would have been able to pay its obligation to Plaintiff.

                               DECLARATORY RELIEF

       54.    Plaintiff hereby incorporates by reference paragraphs 1 through 53 as if fully

set forth herein.

       55.    Plaintiff seeks a declaration that:

              (1)    Brian L. Sexton is the alter ego of Estrategy;

              (2)    The corporate veil of Estrategy is pierced and its actions and

                     obligations are the actions and obligations of Brian L. Sexton; and

              (3)    Brian L. Sexton is personally liable for satisfaction of the Judgment
                     obtained by Plaintiff against Estrategy.




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                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays the Court:

       A.     Enter an Order voiding Defendants’ transfers from the Company Accounts

and any and all other assets of Estrategy to the Personal Account or for payment of

Defendants’ personal expenses;

       B.     Enter an Order requiring Defendants to provide documentation of the transfer

of Estrategy’s cash and other assets to Defendants and the payment of personal expenses

from Estrategy’s cash or other assets and to cooperate in the collection of all documents,

as may be required, from other sources;

       C.     Enter an Order directing Defendant Brian L. Sexton to provide an accounting

of the revenues and expenditures, cash and net income of Estrategy for the years 2014,

2015, 2016, 2017, 2018 and each subsequent year until judgment is entered in this

proceeding;

       D.     Enter an Order freezing Defendants’ assets which were directly transferred

from Estrategy or can be traced to the fraudulent transfers from Estrategy, during the

pendency of this action;

       E.     Enter an award in favor of Plaintiff that includes compensatory, exemplary

or punitive damages, including interest thereon, in an amount to be proven at trial;

       F.     Enter an award of attorneys’ fees and costs;

       G.     Enter an award of pre-judgment and post-judgment interest;

       H.     Enter an award for any such further legal and equitable relief as the Court

deems necessary and proper under the circumstances;


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       I.      That the Court grant Plaintiff leave to amend or modify the provisions of this

Complaint as necessary or appropriate until additional or further discovery is completed in

this matter.

       DATED: April 12, 2018.

                                           Respectfully submitted,

                                           KREAMER KINCAID TAYLOR LIPSMAN
                                           ARNEY WAIT & BOTTARO, L.C.



                                           /s/ Kevin D. Wait
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                     EXHIBITS

EXHIBIT 1. Abstract of Judgment Against Estrategy

EXHIBIT 2. Registration of Judgment in Missouri




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